Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 1 of 10. PageID #: 98898




                             EXHIBIT 1
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 2 of 10. PageID #: 98899




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                           MDL NO. 2804
OPIATE LITIGATION
                                                      Case No. 17-md-2804
This document relates to:
                                                      Hon. Dan Aaron Polster
County of Summit, Ohio, et al. v. Purdue Pharma
L.P., et al.
Case No. 1:18-op-45090

The County of Cuyahoga v. Purdue Pharma L.P., et
al., Case No. 17-op-45004



                          DECLARATION OF CHARLES J. CRUEGER

        I, Charles J. Crueger, declare and state as follows:

    1. I am an attorney with the law firm of Crueger Dickinson LLC and am one of the attorneys

representing Plaintiffs in the above captioned case. I submit this declaration in support of Motion of

Plaintiffs Counties Of Cuyahoga And Summit For Partial Summary Adjudication Regarding Plaintiffs’ Equitable

Claims For Abatement Of An Absolute Public Nuisance.

    2. Attached hereto as Exhibit 2 is a true and correct copy of the Centers for Disease Control

and Prevention press briefing transcript dated March 15, 2016.

    3. Attached hereto as Exhibit 3 is a true and accurate copy of Bates No. SUMMIT_001084697

produced by Summit County in this litigation.

    4. Attached hereto as Exhibit 4 is a true and accurate copy of Bates No. SUMMIT_001266515

produced by Summit County in this litigation.

    5. Attached hereto as Exhibit 5 is a true and correct copy of WKYC 3 news article titled Mobile

Morgue Trailer Brought into Summit County to Deal with Surge of Overdoses.

    6. Attached hereto as Exhibit 6 is a true and accurate copy of Bates No. SUMMIT_001191836

produced by Summit County in this litigation.

                                                      1
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 3 of 10. PageID #: 98900




   7. Attached hereto as Exhibit 7 is a true and accurate copy of Bates No. SUMMIT_001020273

produced by Summit County in this litigation.

   8. Attached hereto as Exhibit 8 is a true and accurate copy of Mental Health and Addiction

Services’ Unduplicated Admissions for Opiate Abuse and Dependence.

   9. Attached hereto as Exhibit 9 is a true and accurate copy of Bates No. SUMMIT_001090233

produced by Summit County in this litigation.

   10. Attached hereto as Exhibit 10 is a true and accurate copy of Mental Health and Addiction

Services’ Naloxone Administration in Ohio.

   11. Attached hereto as Exhibit 11 is a true and accurate copy of Bates No.

SUMMIT_001215295 produced by Summit County in this litigation.

   12. Attached hereto as Exhibit 12 is a true and accurate copy of Bates No.

SUMMIT_000043050 produced by Summit County in this litigation.

   13. Attached hereto as Exhibit 13 is a true and accurate copy of Bates No.

SUMMIT_002052855 produced by Summit County in this litigation.

   14. Attached hereto as Exhibit 14 is a true and accurate copy of Bates No.

SUMMIT_000004286 produced by Summit County in this litigation.

   15. Attached hereto as Exhibit 15 is a true and accurate copy of Bates No.

SUMMIT_000087384 produced by Summit County in this litigation.
   16. Attached hereto as Exhibit 16 is a true and accurate copy of Bates No. CUYAH_014188900

produced by Cuyahoga County in this litigation.

   17. Attached hereto as Exhibit 17 is a true and accurate copy of Bates No. CUYAH_000018578

produced by Cuyahoga County in this litigation.

   18. Attached hereto as Exhibit 18 is a true and accurate copy of Bates No.

SUMMIT_001631090 produced by Summit County in this litigation.

   19. Attached hereto as Exhibit 19 is a true and accurate copy of Bates No. CUYAH_014361009

produced by Cuyahoga County in native format in this litigation.



                                                  2
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 4 of 10. PageID #: 98901




   20. Attached hereto as Exhibit 20 is a true and accurate copy of Bates No. CUYAH_014362277

produced by Cuyahoga County in this litigation.

   21. Attached hereto as Exhibit 21 is a true and accurate copy of Bates No. CUYAH_001397330

produced by Cuyahoga County in native format in this litigation.

   22. Attached hereto as Exhibit 22 is a true and accurate copy of Bates No. CUYAH_002351018

produced by Cuyahoga County in this litigation.

   23. Attached hereto as Exhibit 23 is a true and accurate copy of Bates No. CUYAH_002462640

produced by Cuyahoga County in this litigation.

   24. Attached hereto as Exhibit 24 is a true and accurate copy of Bates No. CUYAH_002462920

produced by Cuyahoga County in this litigation.

   25. Attached hereto as Exhibit 25 is a true and accurate copy of Bates No. CUYAH_002462638

produced by Cuyahoga County in this litigation.

   26. Attached hereto as Exhibit 26 is a true and accurate copy of Bates No. CUYAH_002462641

produced by Cuyahoga County in this litigation.

   27. Attached hereto as Exhibit 27 is a true and accurate copy of Bates No. CUYAH_002467830

produced by Cuyahoga County in this litigation.

   28. Attached hereto as Exhibit 28 is a true and accurate copy of Bates No. CUYAH_002486141

produced by Cuyahoga County in this litigation.
   29. Attached hereto as Exhibit 29 is a true and accurate copy of Bates No. CUYAH_003505168

produced by Cuyahoga County in this litigation.

   30. Attached hereto as Exhibit 30 is a true and accurate copy of Bates No.

CAH_MDL2408_03347608 produced by Cardinal Health in this litigation.

   31. Attached hereto as Exhibit 31 is a true and accurate copy of Bates No.

CAH_MDL2408_03389325 produced by Cardinal Health in this litigation.

   32. Attached hereto as Exhibit 32 is a true and accurate copy of Bates No.

SUMMIT_000043688 produced by Summit County in this litigation.



                                                  3
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 5 of 10. PageID #: 98902




   33. Attached hereto as Exhibit 33 is a true and accurate copy of Bates No.

SUMMIT_000278683 produced by Summit County in this litigation.

   34. Attached hereto as Exhibit 34 is a true and accurate copy of Bates No.

SUMMIT_000077565 produced by Summit County in native format in this litigation.

   35. Attached hereto as Exhibit 35 is a true and accurate copy of Bates No.

HDS_MDL_00249031 produced by H. D. Smith in this litigation.

   36. Attached hereto as Exhibit 36 is a true and accurate copy of Bates No.

HDS_MDL_00408069 produced by H. D. Smith in this litigation.

   37. Attached hereto as Exhibit 37 is a true and accurate copy of Cardinal Health’s Opioid Action

Program webpage.

   38. Attached hereto as Exhibit 38 is a true and accurate copy of Bates No.

HDS_MDL_00447518 produced by H. D. Smith in this litigation.

   39. Attached hereto as Exhibit 39 is a true and accurate copy of Bates No.

ABDCMDL00153373 produced by AmerisourceBergen in this litigation.

   40. Attached hereto as Exhibit 40 is a true and accurate copy of Bates No. MNK-

T1_0000179105 produced by Mallinckrodt in this litigation.

   41. Attached hereto as Exhibit 41 is a true and accurate copy of Henry Schein’s Secure Schedule

II Management Tools for Healthcare Providers webpage.
   42. Attached hereto as Exhibit 42 is a true and accurate copy of Bates No. MNK-

T1_0001332076 produced by Mallinckrodt in this litigation.

   43. Attached hereto as Exhibit 43 is a true and accurate copy of Bates No.

TEVA_MDL_A_01204074 produced by Teva in this litigation.

   44. Attached hereto as Exhibit 44 is a true and accurate copy of Bates No.

TEVA_MDL_A_09183248 produced by Teva in this litigation.

   45. Attached hereto as Exhibit 45 is a true and accurate copy of Summit County Public Health,

Dashboard for Estimated Overdose Emergency Room Department Visits 2016-2019.



                                                4
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 6 of 10. PageID #: 98903




   46. Attached hereto as Exhibit 46 is a true and accurate copy of Nate Hartle’s August 1, 2018

deposition exhibit number 42.

   47. Attached hereto as Exhibit 47 is a true and accurate copy of Gary Boggs’ deposition exhibit

number 9.

   48. Attached hereto as Exhibit 48 is a true and accurate copy of document 1233-4 filed on

January 8, 2019.

   49. Attached hereto as Exhibit 49 is a true and accurate copy of Deborah Bearer’s deposition

exhibit number 19.

   50. Attached hereto as Exhibit 50 is a true and accurate copy of Deborah Bearer’s deposition

exhibit number 20.

   51. Attached hereto as Exhibit 51 is a true and accurate copy of Thomas Gilson’s 30(b)(6)

deposition exhibit number 10.

   52. Attached hereto as Exhibit 52 is a true and accurate copy of Donna Skoda’s deposition.

   53. Attached hereto as Exhibit 53 is a true and accurate copy of Lisa Kohler’s deposition.

   54. Attached hereto as Exhibit 54 is a true and accurate copy of Clarence Tucker’s deposition.

   55. Attached hereto as Exhibit 55 is a true and accurate copy of Kim Patton’s deposition.

   56. Attached hereto as Exhibit 56 is a true and accurate copy of Julie Barnes’ deposition.

   57. Attached hereto as Exhibit 57 is a true and accurate copy of Greta Johnson’s 30(b)(6)
deposition.

   58. Attached hereto as Exhibit 58 is a true and accurate copy of Jeffrey Sturmi’s deposition.

   59. Attached hereto as Exhibit 59 is a true and accurate copy of Gerald Craig’s deposition.

   60. Attached hereto as Exhibit 60 is a true and accurate copy of Charles Twigg’s deposition.

   61. Attached hereto as Exhibit 61 is a true and accurate copy of Thomas Gilson’s 30(b)(6)

deposition.

   62. Attached hereto as Exhibit 62 is a true and accurate copy of Hugh Shannon’s 30(b)(6)

deposition.

   63. Attached hereto as Exhibit 63 is a true and accurate copy of Margaret Keenan’s deposition.

                                                 5
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 7 of 10. PageID #: 98904




   64. Attached hereto as Exhibit 64 is a true and accurate copy of Molly Leckler’s deposition.

   65. Attached hereto as Exhibit 65 is a true and accurate copy of Trevor McAleer’s deposition.

   66. Attached hereto as Exhibit 66 is a true and accurate copy of Nate Hartle’s July 31, 2018

deposition.

   67. Attached hereto as Exhibit 67 is a true and accurate copy of Nate Hartle’s August 1, 2018

deposition.

   68. Attached hereto as Exhibit 68 is a true and accurate copy of Gary Boggs’ January 17, 2019

deposition.

   69. Attached hereto as Exhibit 69 is a true and accurate copy of Jennifer Norris’ deposition.

   70. Attached hereto as Exhibit 70 is a true and accurate copy of Mark Hartman’s deposition.

   71. Attached hereto as Exhibit 71 is a true and accurate copy of Shawn Abreu’s deposition.

   72. Attached hereto as Exhibit 72 is a true and accurate copy of Jeff Peacock’s deposition.

   73. Attached hereto as Exhibit 73 is a true and accurate copy of Susanne Hiland’s 30(b)(6)

deposition.

   74. Attached hereto as Exhibit 74 is a true and accurate copy of Jeff Abernathy’s deposition.

   75. Attached hereto as Exhibit 75 is a true and accurate copy of Miranda Johnson’s deposition.

   76. Attached hereto as Exhibit 76 is a true and accurate copy of Jolynn Coleman’s deposition.

   77. Attached hereto as Exhibit 77 is a true and accurate copy of Ramona Sullins’s deposition.
   78. Attached hereto as Exhibit 78 is a true and accurate copy of George Chapman’s deposition.

   79. Attached hereto as Exhibit 79 is a true and accurate copy of Roxanne Reed’s deposition.

   80. Attached hereto as Exhibit 80 is a true and accurate copy of Debbie Hodges’ deposition.

   81. Attached hereto as Exhibit 81 is a true and accurate copy of Susanne Hiland’s Fact

deposition.

   82. Attached hereto as Exhibit 82 is a true and accurate copy of Art Morelli’s deposition.

   83. Attached hereto as Exhibit 83 is a true and accurate copy of Karen Harper’s deposition.

   84. Attached hereto as Exhibit 84 is a true and accurate copy of Victor Borelli’s deposition.

   85. Attached hereto as Exhibit 85 is a true and accurate copy of William Ratliff’s deposition.

                                                 6
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 8 of 10. PageID #: 98905




    86. Attached hereto as Exhibit 86 is a true and accurate copy of Erin Cox’s deposition.

    87. Attached hereto as Exhibit 87 is a true and accurate copy of Stacey Chick’s deposition.

    88. Attached hereto as Exhibit 88 is a true and accurate copy of Steven Becker’s deposition.

    89. Attached hereto as Exhibit 89 is a true and accurate copy of Cathy Jackson’s deposition.

    90. Attached hereto as Exhibit 90 is a true and accurate copy of Michael Wessler’s deposition.

    91. Attached hereto as Exhibit 91 is a true and accurate copy of Lisa Cardetti’s deposition.

    92. Attached hereto as Exhibit 92 is a true and accurate copy of Eileen Spaulding’s deposition.

    93. Attached hereto as Exhibit 93 is a true and accurate copy of George Saffold’s deposition.

    94. Attached hereto as Exhibit 94 is a true and accurate copy of Tiffany Rowley-Kilper’s

deposition.

    95. Attached hereto as Exhibit 95 is a true and accurate copy of Bonnie New’s deposition.

    96. Attached hereto as Exhibit 96 is a true and accurate copy of Richard Fannelli’s vol. I-II

depositions.

    97. Attached hereto as Exhibit 97 is a true and accurate copy of Kathe Sackler’s deposition.

    98. Attached hereto as Exhibit 98 is a true and accurate copy of Deborah Bearer’s deposition.

    99. Attached hereto as Exhibit 99 is a true and accurate copy of Lisa Walker’s deposition.

    100.       Attached hereto as Exhibit 100 is a true and accurate copy of Paul Campanelli’s

deposition.
    101.       Attached hereto as Exhibit 101 is a true and accurate copy of George Stevenson’s

deposition.

    102.       Attached hereto as Exhibit 102 is a true and accurate copy of Brian Lortie’s vol. I-III

depositions.

    103.       Attached hereto as Exhibit 103 is a true and accurate copy of Stephens Macrides’

deposition.

    104.       Attached hereto as Exhibit 104 is a true and accurate copy of Katherine Keyes’

declaration.



                                                   7
  Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 9 of 10. PageID #: 98906




    105.           Attached hereto as Exhibit 105 is a true and accurate copy of Scott Wexelblatt’s

declaration.

    106.           Attached hereto as Exhibit 106 is a true and accurate copy of Caleb Alexander’s

declaration.

    107.           Attached hereto as Exhibit 107 is a true and accurate copy of Jeffrey Liebman’s

declaration.

    108.           Attached hereto as Exhibit 108 is a true and accurate copy of Steven Mills’ fact

deposition.

    109.           Attached hereto as Exhibit 109 is a true and accurate copy of Edward Bratton’s fact

deposition.

    110.           Attached hereto as Exhibit 110 is a true and accurate copy of Rex Swords

deposition.

    111.           Attached hereto as Exhibit 111 is a true and accurate copy of Bates No.

WAGMDL00114603 produced by Walgreens in this litigation.

    112.           Attached hereto as Exhibit 112 is a true and accurate copy of Christopher Dymon’s

fact deposition.

    113.           Attached hereto as Exhibit 113 is a true and accurate copy of Bates No.

WAGMDL00334472 produced by Walgreens in this litigation.
    114.           Attached hereto as Exhibit 114 is a true and accurate copy of Bates No.

WAGMDL00608996 produced by Walgreens in this litigation.

    115.           Attached hereto as Exhibit 115 is a true and accurate copy of Bates No.

WAGMDL00035671 produced by Walgreens in this litigation.

    116.           Attached hereto as Exhibit 116 is a true and accurate copy of Eric Stahmann’s fact

deposition.

    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.



                                                     8
Case: 1:17-md-02804-DAP Doc #: 1934 Filed: 07/22/19 10 of 10. PageID #: 98907




     Executed this 28th day of June 2019.




                                                By: __________________________
                                                    Charles J. Crueger




                                            9
